A.Y. STRAUSS LLC
Eric H. Horn, Esq.
290 West Mount Pleasant Avenue, Suite 3260
Livingston, New Jersey 07039
Tel. (973) 287-5006
Fax (973) 533-0217

Proposed Counsel to the Debtor
and Debtor-in-Possession



                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NEW YORK


  In re:                                            Chapter 11
  288 4TH LLC,                                      Case No. 24-43626-ess
                         Debtor.


  288 4TH LLC,
                                                    Adv. P. No. 24-01087
                         Plaintiff,
                 v.
  HAIM KAHAN, COHEN TAUBER
  SPIEVACK & WAGNER P.C., and
  PROGRESSIVE REAL ESTATE
  AGENCY LLC,
                         Defendants.



                OBJECTION TO HAIM KAHAN’S MOTION TO DISMISS

       288 4th LLC, debtor and debtor-in-possession herein (the “Debtor” or the “Plaintiff”), and

as plaintiff in the above-captioned adversary proceeding, hereby objects to the motion to dismiss

of Haim Kahan [Adv. Docket No. 14] (the “Motion”), and respectfully states as follows:




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                                  FACTUAL BACKGROUND

A.     General Background

       1.      On September 2, 2024, (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) with the

United States Bankruptcy Court for the Eastern District of New York (the “Bankruptcy Court”).

       2.      The Debtor continues in possession of its property and the management of its

business affairs as a debtor-in-possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code.

       3.      No trustee, examiner, or statutory committee has been appointed.

       4.      The Debtor is 100% owned by Perl Weisz.

       5.      On September 4, 2024, the Debtor commenced the above-captioned adversary

proceeding (the “Adversary Proceeding”) by filing a complaint [Adv. P. Docket No. 1].

       6.      On September 29, 2024, the Debtor filed an amended complaint [Adv. P. Docket

No. 16] (the “Amended Complaint”).

B.     Weisz Family’s Business Dealings with Chaim Kahan

       7.      The Weisz family has significant tortured history with Kahan, and engaged in four

separate real estate deals with Kahan throughout 2022.

       8.      Yecheskel Weisz was introduced to Kahan as someone who claimed to have

significant cash reserves to invest in real estate. Based on that assumption and some due diligence,

the Weiszes engaged in business transactions with Kahan.

       9.      Despite Kahan holding himself out as a real estate expert and closer, each of the

deals that the Weiszes worked with Kahan on fell apart. Importantly, the deals fell apart based on

Kahan failing to provide the necessary funds or otherwise satisfy his obligations at the moment

when those funds were required to close the transaction.




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       10.     By way of example, one of the deals worked on with Kahan fell apart when Kahan

failed to attend a “time of the essence” closing, which resulted in the release of a $1 million deposit

for an $11 million property. As a result of that deal falling apart, Kahan commenced an action in

New York state court (525 Park Williamsburg LLC v. 525 Park LLC, Index No. 521411/2023 –

NYS Supreme Court, Kings County) seeking specific performance from the seller. Based on

Kahan’s failure to close, that case was dismissed.        Ultimately, 525 Park Williamsburg LLC

(Kahan’s entity) ended up in bankruptcy court and is being heard by Judge Stong in the chapter 11

case titled In re 525 Park Williamsburg LLC, Case No. 24-40228-ess.

       11.     Other deals between Kahan and the Weiszes ended in similar fashions where the

parties would get close to closing and Kahan would default on his obligations. Simply stated, such

is Kahan’s modus operandi.

       12.     The issues at play here are no different and fall squarely within Kahan’s behavioral

pattern.

C.     The Origin of the $1.6 Million at Issue

       13.     This case is all about recovering the $1.6 million of the Debtor’s property that was

wrongfully transferred.

       14.     That $1.6 million arose from a $2 million deposit that was posted by the Debtor for

the purchase of a particular property. Indeed, pursuant to a certain purchase agreement dated as of

November 4, 2022 between Crown 286 4th LLC and 2123 Denton LLC, as sellers, and the Debtor

as buyer (the “Purchase Agreement”) pursuant to which the Debtor was to purchase the property

located at 288 4th Avenue, Brooklyn, New York (the “Property”), the Debtor posted a $2 million

contract deposit.




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        15.     Because Kahan failed to live up to his obligations, that deal fell apart and the Debtor

was at risk of losing its full $2 million deposit.

        16.     In an effort to avoid a full loss, the Debtor and Crown 286 4th LLC and 2123 Denton

LLC (Sellers) ultimately entered into an agreement by which the Debtor would forfeit $400,000

as opposed to the full $2 million. This agreement was memorialized in the Termination Agreement.

        17.     The returned funds are the subject of this Adversary Proceeding.

D.      Kahan’s Relationship to the Debtor

        18.     As noted above, the Debtor is solely owned by Perl Weisz. Kahan has no equity

interest in the Debtor.

        19.     What Kahan and the Debtor did agree to is that if the deal to purchase the Property

closed and was ultimately flipped for a profit, such profit would be split 50/50.

        20.     While it is true that Kahan did provide the Debtor with the $2 million deposit, such

monies always belonged to the Debtor. That $2 million was the price of admission for Kahan to

participate in the ultimate upside via the 50/50 flip.

        21.     Kahan’s failure to provide remaining funds for closing as he was obligated to

ultimately led to the demise of this deal.

        22.     As a result, Debtor lost the deal, as well as the ability to flip it, and the contract was

terminated, resulting in a Termination Agreement dated as of November 4, 2022. See Termination

Agreement attached as Exhibit A.

        23.     Pursuant to that Termination Agreement, the seller agreed to release all claims and

return $1.6 million to Debtor, and retain $400,000. See id.

        24.     Following the entry of the Termination Agreement, a dispute arose between the

Weisz family and Kahan as to ownership of the $1.6 million returned deposit.




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       25.     While the dispute was ongoing, both the Weisz family and Kahan agreed that the

money was to be placed in escrow with Riverside Abstract Inc. (“Riverside”), with an agreement

that it would not be released until both parties agree or a rabbinical court decides its fate.

       26.     The money remained with Riverside for two years without any agreement or

determination as to the money.

       27.     Putting aside the Weisz family and Kahan dispute for the moment, it is important

to note that the $1.6 million belongs to neither the Weisz family nor Kahan. It belongs to the Debtor

and its estate – plain and simple. In fact, the Termination Agreement clearly states that the $1.6

million is property of the Debtor. Indeed, the first Whereas clause provides as follows:

       WHEREAS, the Purchaser and Sellers have entered into a Purchase and Sale
       Agreement, dated August 3, 2022 (the “PSA”) pursuant to which Purchaser has
       delivered to Bartfield and Knopfler PLLC, as Escrow Agent (the “Escrow Agent”)
       the sum of $2,000,000 as the down payment towards the Purchaser Price for the
       Premises described therein (the “Down Payment”).

       Exhibit A, Termination Agreement at 1st Whereas Clause.

Purchaser is defined in the Termination Agreement as the Debtor. Indeed, the Termination

Agreement provides in the Preamble as follows: “288 4th LLC, a New York limited liability

company, having an address at 320 Roebling Street, Suite 304, Brooklyn, New York 11211

(hereinafter referred to as “Purchaser”)”. Exhibit A, Termination Agreement at Preamble.

       28.     As further evidence that the $1.6 million belongs to the Debtor is provided for

further in the Termination Agreement as follows: “The Parties mutually authorize and direct the

Escrow Agent to disburse $400,000.00 of the Down Payment to Sellers by wire transfer to such

Parties in accordance with wire instructions set forth hereinbelow and $1,600,000 to Purchaser,

by wire transfer in accordance with wire instructions to be provided to the Escrow Agent by the

Purchaser.” Exhibit A, Termination Agreement at § 2.




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       29.     The Weisz family has recognized that the $1.6 million belongs to the Debtor.

Kahan, however, refused to accept that fact despite the overwhelming documentary evidence

supporting such ownership by the Debtor.

E.     Kahan Initiates Lawsuit after Lawsuit to Wrongfully Obtain the $1.6 million

       (i)     The First Action

       30.     On July 19, 2024, Kahan commenced his first action in New York state court (the

“State Court”) titled Kahan v. Weisz et al., Index No: 519589/2024 (the “First Action”). In that

action, Kahan sought to compel Yecheskel Weisz and Shai Weisz to arbitration to determine the

ownership of the $1.6 million.

       31.     In that action, in the form of interim relief, Kahan requested that the State Court

transfer the $1.6 million out of Riverside and have the State Court hold such funds.

       32.     The Weisz family thought that transferring the monies out of Riverside and into the

State Court was wise as the monies would be safer with the State Court than Riverside. Based on

Kahan’s request to transfer the funds to the State Court, Weisz did not enter any opposition.

       33.     Instead of transferring the funds to the State Court, however, the State Court ordered

the money be transferred to the escrow account of Kahan’s counsel — Defendant Cohen Tauber,

under the same terms as Riverside.

       34.     Pursuant to an order entered in the First Action on July 22, 2024, the $1.6 million

was transferred from Riverside to the escrow account of Defendant Cohen Tauber.

       35.     On July 23, 2024, Stephen Wagner, Esq. (of Cohen Tauber) sent an email to various

parties in which he confirmed that the $1.6 million would not be transferred out of Cohen Tauber’s

escrow account until such time as Kahan and Yecheskel Weisz agree to release such or the parties




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are otherwise ordered to do so by the Jewish Rabbinical Court, the same agreement that existed

with Riverside.

       36.     The case was marked off the calendar due to Mr. Wagner’s lack of service, and the

Debtor has been advised that Mr. Wagner confirmed to counsel for Yecheskel Weisz and Shai

Weisz (Andrea Caruso, Esq. of Schwartz Sladkus Reich Greenberg Atlas LLP) that despite the

dismissal, Mr. Wagner would continue to hold the money in escrow. However, the case being

marked off meant Mr. Wagner was supposed to return the funds to Riverside, as he was only

holding the money per the order pending the motion hearing.

       (ii)    The Second Action

       37.     On a Friday afternoon, two weeks later, Kahan filed a lawsuit against Defendant

Cohen Tauber, demanding that the escrow funds be released to Kahan.

       38.     Indeed, on August 30, 2024, Kahan commenced a second action in the State Court

by Order to Show Cause titled Haim Kahan v. Cohen Tauber Spievack & Wagner PC, Index No.

523487/2024 (the “Second Action”).

       39.     In the Second Action, without notice to any other party other than Cohen Tauber,

Kahan sought to have the $1.6 million turned over to him. The Weiszes were improperly excluded

from this action.

       40.     Shockingly, Defendant Cohen Tauber filed an affirmation stating it had no

opposition to Kahan’s request.

       41.     Because of that affirmation, the State Court entered an order directing that the $1.6

million of Debtor funds held by Cohen Tauber be turned over to Kahan.




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        42.     Tellingly, Cohen Tauber as the escrow agent (and Kahan’s former counsel) failed

to notify Weisz as it was obligated to about the lawsuit, the relief requested therein, and the decision

by Cohen Tauber to put in an affirmation of no opposition to the relief requested.

        43.     In other words, Kahan’s former lawyer who was serving as escrow agent willfully

participated in some sort of scheme to direct the funds to its former client – Kahan, with full

knowledge that a dispute existed over its ownership between the parties. That is troubling at best.

        44.     Ultimately, the State Court ordered the transfer of funds to Kahan, again in the form

of interim relief, which was initially unnoticed until Mr. Weisz’s team discovered the lawsuit while

searching court dockets.

        45.     Upon learning of such order, the Debtor commenced an emergency chapter 11 on

September 2, 2024 and filed a Notice of Suggestion of Bankruptcy on the State Court docket in

the Second Action.

        46.     Additionally, counsel to Yecheskel Weisz and Shai Weisz at around 7:00 am (ET)

on September 3, 2024 filed an Order to Show Cause with supporting papers to have the Court’s

August 30, 2024 order vacated. Apparently, there was a need by Defendant Kahan to have

immediate access to the Debtor’s funds as Defendant Kahan claimed to need the money for a time

of the essence closing. Again, these funds are not Defendant Kahan’s. Rather such belongs to the

Debtor as clearly indicated in the Termination Agreement.

        47.     To seemingly avoid the Order to Show Cause which has been filed, Kahan

immediately thereafter filed a Notice of Discontinuance in the Second Action in an attempt to cut

off Yecheskel Weisz and Shai Weisz’s argument that the monies belonged to the Debtor.

        48.     The Court Order in the second action, again, was in the form of interim relief, and

therefore became invalid upon the filing of the Notice of Discontinuance.




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          (iii)   The Third Action

          49.     Even more bizarre, upon filing the Notice of Discontinuance, on September 3,

2024, Kahan filed a third action by Order to Show Cause in the State Court titled Haim Kahan v.

Cohen Tauber Spievack & Wagner PC, Yecheskel Weisz and Shai Weisz, Index No. 523694/2024

(the “Third Action”). This time, despite naming the Weiszes, Kahan only gave notice to Cohen

Tauber.

          50.     Again, without any notice to the Weiszes or the Debtor, the State Court entered an

order which seems to be inconsistent with the August 30, 2024 order entered in the Second Action.

See Order dated September 3, 2024 annexed to the Amended Complaint as Exhibit G.

          51.     On September 4, 2024, the State Court in the Third Action entered an Order to

Show Cause which prevents Defendants Haim Kahan and Cohen Tauber from transferring the

funds and/or using such funds to the extent that the transfer already took place. A copy of that

order (the “State Court Stay Order”) is annexed to the Amended Complaint as Exhibit H. Such

Order supersedes the previous orders to show cause entered in the State Court.

          52.     Counsel for the Weiszes again filed an Order to Show Cause seeking the stay of the

State Court Stay Order which was ultimately signed by the Court.

          53.     On September 4, 2024, the Debtor commenced this adversary proceeding in this

Court and filed an order to show cause seeking to prevent Cohen Tauber from transferring the

funds out of its escrow account.

          54.     On September 5, 2024, this Court entered an order in this Adversary Proceeding

which in substance provided that “[t]he parties are directed to preserve the status quo with respect

to the use of the funds at issue . . .” Such order (the “Chapter 11 Adversary Stay Order”) was




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entered as Docket No. 7 in this Adversary Proceeding and is annexed to the Amended Complaint

as Exhibit I.

       55.      Despite this Court’s entry of the Chapter 11 Adversary Stay Order and the State

Court’s entry of the State Court Stay Order, upon information and belief Cohen Tauber transferred

the $1.6 million out of its escrow account via an ACH transfer. Mr. Wagner, knowing quite well

that the funds were property of the Debtor’s estate, had various opportunities to stop the ACH

transfer, yet he refused to do so.

       56.      While the Debtor has reason to believe that such monies were transferred to

Defendant Progressive, such has not been confirmed as the Defendants are refusing to provide the

information regarding the transfer.

       57.      In fact, Mr. Kahan, despite telling the Court he needed the money for a closing, has

denied knowledge of the whereabouts of the funds, which he personally initiated the ACH payment

of from Cohen Tauber’s escrow account.

                                          OBJECTION

A.     The Rooker-Feldman Doctrine is Inapplicable

       58.      In his Motion, Haim Kahan wrongfully asserts that Plaintiff’s claims in the above-

captioned Adversary Proceeding are barred by the Rooker-Feldman doctrine.

       59.      As a general rule, the Rooker-Feldman doctrine does not bar a suit by a federal

court plaintiff who was not a party to the state court judgment. See Lance v. Dennis, 546 U.S. 459,

466 (2006) (rejecting application of Rooker-Feldman doctrine to non-parties who were in privity

with a party); Mo’s Express, LLC v. Sopkin, 441 F.3d 1229, 1234-37 (10th Cir. 2006) (concluding

Rooker- Feldman doctrine did not bar suit by plaintiffs who were “not parties, they were not bound

by the judgment, and they were neither predecessors nor successors in interest to the parties” in

the state court litigation, even if they had interests identical to those of a party). The underlying


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rationale for this general rule is that a federal court cannot be said to be entertaining an appeal

from a state court judgment if the individual bringing the challenge is not one who could ordinarily

appeal that judgment. See Lance, 546 U.S. at 465.

        60.       Here, despite Haim Kahan’s acknowledgment that the $1.6 million at issue is

property of the Debtor (see Section C, infra), at no time did Mr. Kahan name the Debtor in any of

its State Court actions. Thus, because the Debtor was not a party to any of the State Court actions,

the Rooker-Feldman doctrine is inapplicable.

B.      The Plaintiff’s Complaint is Not Moot

        61.       In his Motion, Mr. Kahan asserts that the Adversary Proceeding should be

dismissed as the relief sought therein is moot due to the fact that the funds were already released

to Progressive.

        62.       Putting aside for the moment that such is completely contrary to what Mr. Kahan

represented to this Court in his opposition to the Debtor’s request for injunctive relief, injunctive

relief is only a small fraction of the Debtor’s Amended Complaint, to which Progressive is a party.1

        63.       Thus, the release of the of the funds to Progressive does not render the Adversary

Proceeding moot.

C.      The $1.6 Million is Property of the Estate

        64.       Despite Mr. Kahan’s arguments to the contrary, the $1.6 million at the heart of the

Adversary Proceeding is property of the Debtor’s estate. Indeed, such was acknowledged by Mr.

Kahan in his Affirmation filed in the State Court wherein Kahan states:



1 Defendant Haim Kahan’s bankruptcy counsel filed a letter on the docket opposing the relief and saying
that the Debtor would suffer no harm or prejudice if the Court did not enter the proposed order to show
cause. Indeed, counsel to Mr. Kahan states: “[g]iven the nascent stage of the instant Adversary Proceeding,
no prejudice will result in allowing Defendant Kahan an opportunity to fully address the allegations in the
Order to Show Cause.” A copy of the letter was filed as Adv. P. Docket No. 3.


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              On or about August 3, 2022, Crown 286 4th Avenue LLC (“Crown”) and
              2123 Denton LLC (“Denton,” with Crown, “Sellers”) entered into a
              purchase and sale agreement with 288 4th LLC (“288 4th”), as purchaser,
              for the sale of real property located at 286-290 4th Avenue and 21-23 Denton
              Place, both locations in Brooklyn . . . The transaction ultimately did not
              close, and one of the Sellers returned $1.6 million to 288 4th.

See Kahan Affirmation annexed hereto as Exhibit B (emphasis added).

       65.    Moreover, such fact is also acknowledged in the Termination Agreement which was

signed by Mr. Kahan. Indeed, the first Whereas clause provides as follows: “WHEREAS, the

Purchaser and Sellers have entered into a Purchase and Sale Agreement, dated August 3, 2022

(the “PSA”) pursuant to which Purchaser has delivered to Bartfield and Knopfler PLLC, as

Escrow Agent (the “Escrow Agent”) the sum of $2,000,000 as the down payment towards the

Purchaser Price for the Premises described therein (the “Down Payment”).” Termination

Agreement at 1st Whereas Clause. Purchaser is defined in the Termination Agreement as the

Debtor. Indeed, the Termination Agreement provides in the Preamble as follows: “288 4th LLC,

a New York limited liability company, having an address at 320 Roebling Street, Suite 304,

Brooklyn, New York 11211 (hereinafter referred to as “Purchaser”)”. Exhibit A, Termination

Agreement at Preamble.

       66.    For Mr. Kahan to assert that the $1.6 million is not property of the estate is at best

disingenuous, but more aptly smacks of bad faith.

                          [remainder of page intentionally left blank]




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                                           CONCLUSION
          For the reasons set forth herein, the Debtor respectfully requests that the Motion be denied

in its entirety and that the Court grant such other and further relief as the Court deems just and

proper.

Dated: October 21, 2024
                                        Respectfully submitted,


                                        A.Y. STRAUSS LLC


                                        By:     /s/ Eric H. Horn
                                        Eric H. Horn, Esq.
                                        290 West Mount Pleasant Avenue, Suite 3260
                                        Livingston, New Jersey 07039
                                        Tel. (973) 287-5006
                                        Fax (973) 533-0217

                                        Attorneys for the Debtor




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